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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


    GILEAD SCIENCES, INC., et al.,                   Civil Action No. 21-cv-4106
                                                            (AMD)(RER)

                       Plaintiffs,
                                                            ECF CASE
                  v.


    SAFE CHAIN SOLUTIONS, LLC, et al.,

                   Defendants.



        MEMORANDUM OF LAW IN SUPPORT OF SCRIPTS WHOLESALE INC.’S
       RENEWED MOTION TO VACATE OR AMEND THE ASSET FREEZE ORDER




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    Dated: April 17, 2023
           Garden City, New York
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                                              INTRODUCTION

            Defendant Scripts Wholesale, Inc. (“Scripts”) renews its motion to vacate or otherwise

    modify the ex parte Asset Freeze Order entered against it on October 16, 2021. (Schurin Decl.,

    ¶2, Ex. A).

            A pre-judgment asset freeze is a “dramatic and extreme” remedy that cannot be continued

    in a case such as this, where the legal claims underpinning the asset freeze are not firmly

    established, and there is no evidence that Scripts will dissipate its assets. See e.g., Groupo

    Mexicano v. Alliance Bond Fund, 527 U.S. 308, 144 L. Ed. 2d 319, 119 S. Ct. 1961 (1999).

    Indeed, “[a] Court may not enter a preliminary injunction simply to safeguard [a defendant’s]

    assets in the event that [defendant is] ultimately held liable on these claims.” Spin Master v.

    Aciper, 2020 US Dist. LEXIS 206278, at *8 (S.D.N.Y. 2020), citing Dong v. Miller, 2018 U.S.

    Dist. LEXIS 48506, at *9 (E.D.N.Y. 2018).

            An asset freeze should only be maintained when the liability against a defendant is

    certain. Here, the Asset Freeze Order must be vacated because Gilead’s claims for counterfeiting

    against Scripts will likely fail, as a matter of law, for at least three distinct reasons.

            First, Gilead’s counterfeiting claims, which are premised upon false pedigree documents,

    may be adjudicated solely by the Food and Drug Administration (hereinafter “FDA”) under the

    Drug Supply Chain Security Act (hereinafter “DSCSA”), 21 U.S.C. §§ 360eee to 360eee-4. As

    discussed herein, there is no private right of action in DSCSA under which Gilead may assert the

    type of claim based on false pedigrees that Gilead now asserts against Scripts in this case.

            Second, Gilead’s claims for counterfeiting against Scripts based on Scripts’ alleged use

    of false pedigrees will likely fail since Gilead’s claims are premised upon a novel and flawed

    theory of counterfeiting under the Lanham Act. Gilead’s counterfeiting claim is flawed because



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    the allegedly false pedigrees relate almost exclusively to genuine pharmaceutical products that

    are indisputably manufactured by Gilead. Thus, Gilead’s claim primarily involves Scripts’

    purchase, advertising and sale of genuine Gilead pharmaceuticals in genuine Gilead packaging,

    which cannot constitute “counterfeiting” or sustain the Asset Freeze Order that Gilead acquired

    against Scripts on an ex parte basis.

           Third, the use of a mark on a pedigree does not constitute “use” under §1127 (or §1116)

    of the Lanham Act and therefore for this additional reason cannot serve as the basis for Gilead’s

    counterfeiting or infringement claims. Indeed, a pedigree is a document that accompanies the

    sale of Gilead medication as part of a business transaction. However, since the references to

    Gilead marks on a pedigree are not marks that are placed on “goods,” “containers,” “displays,”

    or “tags or labels affixed thereto” they do not constitute a trademark use but are instead just

    descriptive uses. Such references cannot constitute “use” of a “counterfeit mark” as defined in

    §1116(d)(b)(i).

           Since Gilead’s counterfeiting claims against Scripts are based on these flawed theories of

    liability, Gilead can hardly contend that liability against Scripts for counterfeiting has been

    firmly established or is certain, which is required for the maintenance of an asset freeze order.

           Scripts also notes that since the original filing of this motion Gilead has sought to

    transition its argument to one based on purportedly counterfeit or infringing “outserts” attached

    to the bottles. However, Gilead’s effort to pivot away from the weak legal arguments upon which

    the asset freeze was granted in the first place is not compelling since Gilead has absolutely no

    direct evidence that any of the medications actually sold by Scripts had an incorrect outsert.




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                                              ARGUMENT

           For the following reasons, the ex parte Asset Freeze Order entered against Scripts should

    now be vacated or at least substantially reduced.

    I.     THE BURDEN OF PROOF IS ON GILEAD TO MAINTAIN
           THE EX PARTE ASSET FREEZE AGAINST SCRIPTS

           The Asset Freeze Order against Scripts was entered on an ex parte basis, and Scripts has

    not stipulated to the entry of any preliminary relief. Therefore, the burden remains on Gilead to

    prove the continued necessity of the Asset Freeze Order. See, Spin Master v. Aciper, 2020 U.S.

    Dist. LEXIS 206278, *9 (S.D.N.Y. 2020); and BMaddox Enters., LLC v. Oskouie, 2017 U.S.

    Dist. LEXIS 146766, *6 (S.D.N.Y. 2017) (citing cases). This makes sense since Scripts has not

    yet had the opportunity to contest Gilead’s application for the asset freeze, and the Court has not

    previously made specific findings of fact justifying the asset freeze entered against Scripts.

           None of the cases previously cited by Gilead remotely supports its position that the

    interim agreement reached by the parties to release some funds serves to shift the burden from

    Gilead to Scripts as to what remains in dispute. For example, in Cartier Int’l B.V. v. Liu, 2003

    U.S. Dist. LEXIS 6381 (S.D.N.Y. 2003), a preliminary injunction was entered. After entering the

    injunction on the merits, the Court held that shifting the burden on a motion to vacate the asset

    freeze was appropriate since the defendant had every opportunity to contest the asset freeze but

    did not. Here, no such preliminary injunction has been entered against Scripts and, as a result, no

    such burden shifting has taken place.




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    II.    GILEAD’S CLAIM OF COUNTERFEITING AGAINST SCRIPTS IS LIKELY
           SUBJECT TO DISMISSAL FOR FAILURE TO STATE A PLAUSIBLE CLAIM

           The ex-parte Asset Freeze Order entered against Scripts should be vacated, or at least

    substantially reduced, since Gilead’s claim of counterfeiting is subject to dismissal for failure to

    state a claim for three independent reasons.

           A. Gilead’s Claim for Counterfeiting Based on False Pedigrees Is
              Precluded Under DSCSA, 21 U.S.C. § 360eee to 360eee-4 a

           Gilead’s counterfeiting claim under the Lanham Act against Scripts is precluded as a

    matter of law because the facts that support Gilead’s Lanham Act claims against Scripts fall

    within the domain of the FDA, which has exclusive authority to decide claims involving suspect

    pedigrees that are used to trace and verify the identity of drugs.

           On November 17, 2013, Congress enacted the DSCSA. The DSCSA set forth new

    definitions and requirements for manufacturers, re-packagers, wholesale distributors, and

    dispensers to facilitate the tracing of products through the pharmaceutical distribution supply

    chain. In this regard, the DSCSA aims to regulate the drug supply chain by implementing a

    uniform, interoperable system to trace and verify the identity of a drug as it passes through a

    manufacturer, wholesale distributor, dispenser, or re-packager in the supply chain. See e.g., In re

    Valsartan, Losartan & Irbesaratan Prods. Liab. Litig., 2020 U.S. Dist. LEXIS 238919, *56

    (D.N.J. 2020). The purpose of Congress is the ultimate touchstone in every preemption case. Id.,

    at *49, citing Wyeth v. Levine, 555 U.S. 555 (2009). In this case, the DSCSA was enacted to

    protect consumers from products that may be counterfeit, stolen, contaminated, or otherwise

    harmful. In so doing, the DSCSA implemented a uniform national supply chain tracing policy,

    including the imposition of certain obligations (including pedigree requirements) in the

    distribution process, to fix the supply chain’s vulnerability to counterfeit drugs. Id., at 56-57.


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        Accordingly, the DSCSA clearly regulates pedigrees associated with pharmaceutical

 drugs. Therefore, a violation of the DSCSA’s tracing requirements that is premised on creating

 or using false or incorrect pedigrees – which forms the core of Gilead’s counterfeiting claim

 against Scripts – rightfully falls within the purview of the FDA and its oversight of the DSCSA,

 not the Lanham Act. In other words, Gilead’s claim against Scripts for distributing

 pharmaceuticals with allegedly false or incorrect pedigrees is governed by the federal law

 designed to promote public health and safety, i.e., the DSCSA.

        Although the DSCSA includes an explicit preemption clause confirming Congressional

 intent that the DSCSA preempts state law governing the distribution of pharmaceutical drugs

 [see, 21 U.S.C. §360eee-4(b)(1); Matrix Distribs. v. N.A. of Bds. of Pharm., 2020 U.S. Dist.

 LEXIS 228271 (D.N.J. December 4, 2020)], Scripts is not aware of any reported decision

 holding that competing federal statutes, such as the Lanham Act, are also precluded by the

 DSCSA and the FDA’s authority. Although, as discussed herein, it would be logical to find that

 to be the case.

         Scripts is also not aware of any cases that sanction Lanham Act cases involving alleged

 DSCSA violations. Accordingly, it appears as if no specific precedent exists with regard to the

 interaction between the DSCSA and the Lanham Act. However, there are numerous cases

 dismissing Lanham Act claims on the grounds that they are precluded the Food, Drug and

 Cosmetic Act (hereinafter the “FDCA”) which is somewhat analogous. See e.g., Amarin

 Pharma, Inc v. ITC, 923 F.3d. 959, 967 (Fed. Cir. 2019) (allowing plaintiffs to shoehorn a

 question of regulatory compliance into the Lanham Act would require judges to make a

 “preemptive determination of how the FDA would interpret and enforce its own regulations”).




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        In Amarin, the court held that plaintiff’s Lanham Act claims were precluded by the

 FDCA and that the FDA was charged with the administration of FDCA. Id., at 966. In Amarin,

 the defendant was accused of using false and misleading labels and advertisements. Plaintiff

 asserted that labeling the products as “dietary supplements” was literally false because the

 products could not meet the definition of “dietary supplement” as set forth in Section 201(ff) of

 the FDCA. Id., at 967. Amarin’s complaint relied on these alleged FDCA violations to support

 key elements of its false advertising claim under the Lanham Act. Accordingly, the Lanham Act

 claim was dismissed since it was precluded by the FDCA. Here, since Gilead’s Lanham Act

 claim is undeniably premised on violations of the DSCSA, based on Scripts’ alleged dealing with

 false or incorrect pedigrees, Gilead’s claim will thus likely be precluded and ultimately

 dismissed as a matter of law just as Amarin’s claim was dismissed since it was precluded by

 FDCA. Thus, insofar as Gilead’s ex parte Asset Freeze Order is tied to its counterfeiting claim

 that is likely to be precluded, the Court should vacate the Asset Freeze Order.

        In opposition to this argument, Gilead has previously relied on Pom Wonderful LLC v.

 Coca-Cola Co., 573 U.S. 102 (2014). However, as Amarin makes clear, the Court after POM

 Wonderful did not open the door to Lanham Act claims based on proving (or prosecuting) FDCA

 violations and said nothing of the DSCSA. Amarin, 923 F3d at 969 (Fed. Cir. 2019). Instead,

 Amarin and cases like it suggest that since the DSCSA explicitly governs the distribution of

 products with allegedly false pedigrees that are used to track drugs, the same result of dismissal

 should apply here with respect to the alleged violation of the DSCSA (see Methods Pharm., LLC

 v. H-2 Pharma, LLC, 2022 U.S. Dist. LEXIS 19541 (M.D. Ala. Feb. 3, 2022); Hi-Tech Pharm.,

 Inc. v. Hodges Consulting, Inc., 230 F. Supp. 3d 1323 (N.D. Ga. 2016); and JHP Pharm., Ltd.

 Liab. Co. v. Hospira, Inc., 52 F. Supp. 3d 992 (C.D. Cal. 2014), precluding Lanham Act claims



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 where they rest on FDA definitions, interpretations and determinations regarding safety, legality

 and classification of drugs and drug label contents). Accordingly, Gilead should not be permitted

 to bring claims involving DSCSA violations that are cloaked in a claim of counterfeiting under

 the Lanham Act.

        Gilead’s reliance on Pom Wonderful LLC to refute this strong preclusion argument is

 without merit. Gilead’s argument is erroneous because it presupposes, without support, that the

 holding of Pom Wonderful extends beyond food labelling and into the FDA’s regulation of drugs

 where the FDA’s powers are far more extensive. Evidence that such an extension would be

 considered unwarranted by the Supreme Court can even be found in its decision in Pom

 Wonderful wherein the Court specifically noted that the FDA has a less extensive role in food

 labels, specifically juice labels, as compared to its regulation of drug labels. See, Pom Wonderful

 LLC v. Coca-Cola Co., 573 U.S. 102, 109 (2014) (The FDA does not preapprove juice labels

 which “is consistent with the less extensive role the FDA plays in the regulation of food than in

 the regulation of drugs”). Thus, it can be persuasively argued that the public interest in giving the

 FDA exclusive reign to regulate drug pedigrees is far too important to give to manufacturers who

 have a business interest, rather than a public safety interest, and certainly more important than the

 regulation of juice labels.

        The DSCSA was enacted with the intent for FDA and Department of Justice (“DOJ”)

 oversight to be the exclusive means of enforcing product tracing requirements, including

 pedigrees. For example, while the FDA does not require pre-approval for pedigrees, it does

 require the provision of pedigrees. Further, the FDA plainly authorizes creation of a single

 pedigree document (See, Schurin Decl., ¶3, Ex. B), and determines what constitutes compliance

 with and violation of DSCSA requirements, including identifying whether a product is suspect or



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 illegitimate, whether a duty has been triggered and satisfied regarding verification (including

 quarantine and investigation), and whether to and what penalty to impose for a violation (See,

 Schurin Decl., ¶4, Ex. C). Indeed, “[t]he question of legality directly implicates the FDA’s

 rulemaking authority.” Hi-Tech Pharm., Inc. v. Hodges Consulting, Inc., 230 F. Supp. 3d 1323,

 1330 (N.D. Ga. 2016) citing JHP Pharms., LLC, 52 F. Supp. 3d 992 at 1004.

        A counterfeit pedigree is a violation of the DSCSA. The purpose of a pedigree is not to

 protect the Lanham Act’s commercial interests regarding consumer perception. Rather, the

 pedigree requirement is intended to serve the DSCSA’s public safety interest to secure and verify

 the supply chain for prescription drug products. Gilead’s claims relating to pedigrees would not

 exist but for the DSCSA and the FDA’s implementation of the DSCSA’s product tracing and

 pedigree requirements. Like a wholesale license, pedigrees are a regulatory requirement.

        If allowed to proceed, Gilead’s Lanham Act claims would possibly undermine prior

 judgments and determinations made by the FDA. For example, by providing wholesale

 distributors with a choice for compliance with the pedigree requirement (to either provide prior

 pedigrees received or create a new single pedigree document based on the information received),

 the FDA has already made a determination on the subject of this dispute (Ex. B). This creates a

 potential conflict. As in Geier v. Am Honda. Motor Co., the federal policy at issue provides

 options for compliance, and the conflicting private cause of action attempts to take that option

 away. 529 U.S. 861, 120 S. Ct. 1913 (2000) Since Gilead’s counterfeiting claims under the

 Lanham Act would take that option away, and so directly conflict with the FDA’s policy choice

 to provide options for legal compliance with the DSCSA product tracing and pedigree

 requirements, Gilead’s Lanham Act claims ought to be precluded. See also, JHP Pharms., LLC,

 52 F. Supp. 3d 992 at 999, citing POM Wonderful, 134 S. Ct. at 2241 (a Lanham action might be



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 barred where the agency enacted a regulation deliberately allowing manufacturers to choose

 different options).

        Finally, while the DOJ may have indicted and prosecuted conspiracy leaders who created

 false pedigrees for diverting products and impersonating legitimate suppliers to defraud their

 wholesale customers including Scripts, it is noteworthy that the DOJ has so far refused to bring a

 single charge for criminal counterfeiting against anyone on the basis of a counterfeit pedigree

 (See e.g., Schurin Decl., ¶¶6-8, Exs. E, F, and G). As in PhotoMedex, Inc. v. Irwin, enforcement

 power is reserved to the federal government. 601 F.3d 919 (9th Cir. 2010) at 930. Gilead is “not

 permitted to circumvent the FDA’s exclusive enforcement authority by seeking to prove that

 Scripts violated the FDCA, when the FDA did not reach that conclusion.” Rebotex Repair , LLC

 v. Intuitive Surgical, Inc., 2022 U.S. Dist. LEXIS 142861, at *14 (M.D. Fla. Aug. 10, 2022),

 citing PhotoMedex v. Irwin, at 928. Since Gilead’s claims would directly conflict with the DOJ’s

 policy choice not to prosecute criminal counterfeiting claims for authentic but diverted products

 based on false pedigrees in any case, Gilead’s Lanham Act claims ought to be precluded. To

 permit Gilead to proceed with a private Lanham Act claims based on the DSCSA pedigree

 requirements, where the FDA and DOJ refused to take further action after investigation, would, in

 effect, permit Gilead to assume enforcement power and make a decision that the FDA and DOJ

 itself did not make. We respectfully submit that this could obstruct the federal regulation of the

 DSCSA’s product tracing requirements.



        B. Gilead Cannot Assert a Plausible Claim for Counterfeiting Based Upon a
           Suspect Pedigree
        Even if the Court decides that Gilead’s counterfeiting claim based on false or incorrect

 pedigrees should not be precluded by the DSCSA, the Court must still vacate the Asset Freeze


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 Order since there is no cognizable claim for counterfeiting under the Lanham Act based on a

 false pedigree.

        We must start with the understanding that an asset freeze order is an extreme provisional

 remedy. Groupo Mexicano v. Alliance Bond Fund, 527 U.S. 308, 144 L. Ed. 2d 319, 119 S. Ct.

 1961 (1999). In order to qualify for such extraordinary relief under the Lanham Act, establishing

 a claim for mere trademark infringement is entirely insufficient. Rather, Gilead must have

 established an unquestionable claim for counterfeiting under the Lanham Act. See, 15 U.S.C.

 §1116(d). In the instant case against Scripts, Gilead’s claim of counterfeiting under the Lanham

 Act was premised upon the notion that a pedigree with false information constitutes

 counterfeiting under the Lanham Act. This is a flawed theory of trademark law which stands

 entirely unsupported by any precedent.

        For example, only in extreme cases does trademark infringement rise to the level of

 counterfeiting. Generally, counterfeiting is considered a first-degree form of infringement that

 aims to trick a consumer into believing that he or she is getting the genuine article, rather than a

 “colorable imitation.” Gucci Am., Inc. v. Guess?, Inc., 868 F. Supp. 2d 207, 242 (S.D.N.Y. 2012)

 (citing 4 McCarthy on Trademarks and Unfair Competition § 25:10). The Second Circuit has

 held that unless a defendant engages in exact copying of entire products, trademark

 counterfeiting claims should be addressed under “traditional infringement principles.” Gucci

 Am., at 253. As such, courts generally reserve this designation for products that are “stitch-for-

 stitch copies of those of another brand.” Id., at 242. Counterfeiting is a much more grievous

 violation than lower forms of infringement, as it may expose the infringer to treble or statutory

 damages and attorney fees, see 15 U.S.C. § 1117(b), and it may provide for extraordinary

 provisional relief like an asset freeze, see 15 U.S.C. § 1116(d)(1).



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        Section 45 of the Lanham Act provides the basic definition of what constitutes a

 “counterfeit.” A “counterfeit” is defined as a “spurious mark which is identical with, or

 substantially indistinguishable from a registered mark.” See, 15 U.S.C. §1127. “Spurious” is

 defined as: “Deceptively suggesting an erroneous origin; fake.” Black’s Law Dictionary (10th

 ed. 2014). In addition, a “counterfeit mark” is elsewhere defined in the Lanham Act as “a

 counterfeit of a mark that is registered on the principal register in the [USPTO] for such goods or

 services sold, offered for sale, or distributed and that is in use…” 15 U.S.C. § 1116(d)(1)(B)(i).

 Although this portion of the U.S. Code does not specifically use the word “spurious,” the

 definition set forth in § 1127 is read into § 1116(d)(1)(B)(i). 130 Cong. Rec. H12076, at H12079

 (daily ed. Oct. 10, 1984); 7 McCarthy on Trademarks Appendix A8 (5th ed.).

        Notably, a counterfeit mark is not:
        [A] mark or designation used on or in connection with goods or services of which
        the manufacture or producer was, at the time of the manufacture or production in
        question authorized to use the mark or designation for the type of goods or
        services so manufactured or produced, by the holder of the right to use such mark
        or designation.
 15 U.S.C. § 1116(d)(1)(B). If a mark is counterfeit, it is always infringing, but the inverse is not

 necessarily true.

        The definition of the term “counterfeit mark” was also discussed in a Joint Statement on

 Trademark Counterfeiting Legislation. See, 130 Cong. Rec. H12076, at H12078 (daily ed. Oct.

 10, 1984). As stated in that Joint Statement, the re-sale of goods originally manufactured by the

 trademark holder, i.e., genuine goods originating from the manufacturer, such as those present in

 situations of “parallel imports” and “gray market goods” are specifically excluded from

 consideration as “counterfeit.” See, 30 Cong. Rec. H12076, at H12078 (daily ed. Oct. 10, 1984)

 (“The term ‘counterfeit mark’ in this bill also excludes the marks on so-called ‘parallel imports’

 or ‘gray market’ goods – that is, trademarked goods legitimately manufactured and sold overseas

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 and then imported into the United States outside the trademark owner’s desired distribution

 channels (see generally, Bell & Howell: Mamiya Co. v. Masel Supply Co., 719 F.2d 42 (2d Cir.

 1983)”). This legislative history clearly warns courts against expanding the definition of

 “counterfeit” – and the extreme provisional remedies that go along with it – far beyond the

 traditional understanding that the term “counterfeit” applies to goods that are themselves not

 genuine because they are not manufactured by the brand-holder.

        In all, for counterfeiting liability to attach, the goods themselves need to be non-genuine,

 meaning that the goods generally need to have been manufactured or originated from an

 individual or entity other than the owner of the mark. This makes sense since “the purpose of

 trademark law is not to guarantee genuine trademarks but to guarantee that every item sold under

 a trademark is the genuine trademarked product, and not a substitute.” General Electric

 Company v. Speicher, 877 F.2d 531, 534 (7th Cir. 1989).

        It is exceptionally rare for a court to even entertain a claim of counterfeiting in

 circumstances where the product itself is genuine. Indeed, Scripts is aware of no reported case, in

 any jurisdiction, where a claim of counterfeiting under the Lanham Act was established based

 upon an alleged suspect pedigree, and to Scripts’ knowledge, no such case exists. Nevertheless,

 Gilead now asks this Court to maintain the most extreme remedy available under the Lanham

 Act against Scripts, i.e., an ex parte Asset Freeze Order, based upon a flawed and newfangled

 theory of what may constitute a counterfeit under the Lanham Act.

        Therefore, Scripts respectfully submits that Gilead’s theory of liability for counterfeiting

 based on a suspect pedigree constitutes an extreme expansion of what a counterfeit is under the

 Lanham Act. Here, the alleged use of a false or incorrect pedigree clearly falls outside the scope




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 of the definition of “counterfeit,” since any purported “use” 1 by Scripts of the Gilead marks

 and/or slogans is in connection with the advertising and sale of authentic Gilead drugs. In other

 words, since Gilead’s counterfeiting claim against Scripts for false pedigrees are not premised

 upon anything other than their use in connection with genuine and authentic Gilead drugs,

 Gilead’s counterfeiting claim will likely fail as a matter of law. As it was made clear in the Joint

 Statement on Trademark Counterfeiting Legislation, the re-sale of goods originally manufactured

 by the trademark holder are specifically excluded from consideration as “counterfeit.” See also,

 United States v. Hanafy, 302 F.3d 485 (5th Cir. 2002) (affixing a trademark to shipping trays

 containing parallel goods does not constitute counterfeiting since the goods themselves are

 entirely genuine and authentic).

        Gilead’s contention that false pedigrees constitute counterfeits is also undermined by

 inconsistent statements from its counsel in correspondence to pharmacies that have purchased

 Gilead drugs from Scripts. For example, in a letter dated October 25, 2021, from Gilead’s

 counsel to Hoover Drugs LLC, Gilead’s counsel states, in relevant part:

        We have not yet confirmed whether the Gilead-branded medicines sent to you are
        counterfeit. However, we have confirmed that other Gilead-branded
        medicines-including BIKTARVY® and DESCOVY®-sold by Scripts are
        counterfeit and could cause harm to patients. Moreover, we have confirmed
        that numerous Gilead-branded medicines sold by Scripts were accompanied
        by false pedigree documentation or “T3s.”

 (Schurin Decl., ¶ 5, Ex. D) Based on this correspondence, Gilead’s counsel does not itself

 consider false pedigree documentation or “T3s” to render an otherwise genuine bottle of Gilead

 medication to be counterfeit. If false pedigrees automatically render genuine medication

 counterfeit, there would be no need to also state that Scripts sold Gilead medication with false



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  As discussed in the following section, Scripts does not concede that any references to Gilead
 marks or slogans on a pedigree/T3 constitute “use” as required under the Lanham Act.
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 pedigree documentation, and the last sentence in the quote above would be entirely

 unnecessary. Gilead’s counsel would have simply stated in his letter that Gilead “has confirmed

 that other Gilead-branded medicines…sold by scripts are counterfeit and could cause harm to

 patients.”

        This is further confirmed by the very next paragraph which begins:

        Because there is a chance that the Gilead-branded medicines sold to you by
        Scripts are counterfeit and/or are accompanied by falsified pedigree
        documents, those medicines should be considered “suspect products” pursuant to
        the Drug Supply Chain Security Act (DSCSA).

 Id. Again, if false pedigree documents render genuine medication counterfeit all on its own, then

 there would be no need for Gilead’s counsel to stress that the Gilead medication sold by Scripts

 may be counterfeit and are accompanied by falsified pedigree documents. Clearly, Gilead itself

 understands that a counterfeit constitutes something different than a product accompanied by an

 incorrect or false pedigree. Therefore, based on its own correspondence sent to pharmacies long

 after this case commenced, Gilead cannot seriously contend that false pedigree documentation

 standing alone can support a claim of counterfeiting under the Lanham Act.

        The novelty of Gilead’s argument is also evidenced by the lone case it cited in support of

 its application for ex parte relief, Coty, Inc v. Cosmopolitan Cosmetics, Inc., 432 F. Supp. 3d

 345, 349, 352-353 (S.D.N.Y. 2020). In Coty, the allegations were that the defendant “mutilated”

 packages of perfume bottles by removing the codes placed there by the manufacturer. In denying

 defendants’ motion to dismiss, the court held that such a claim could plausibly be considered

 counterfeiting so it would not grant the defendants’ motion to dismiss for failure to state a claim.

 Notably however, no decision on the merits was ever rendered since the case was ultimately

 settled on a confidential basis. Moreover, no provisional relief was granted in favor of plaintiffs

 in Coty. Thus, not only did Coty not involve a request for extreme relief, it also did not involve

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 pharmaceuticals, false pedigrees or a product that may directly impact public health and safety.

 Had Gilead been in possession of any better authority, it surely would have cited it in support of

 its application for the Asset Freeze Order. That none exists demonstrates that the merits of

 Gilead’s counterfeiting claim against Scripts are far from solid. Insofar as Gilead’s ex parte

 Asset Freeze Order is tied to its counterfeiting claim against Scripts that may very well fail since

 the accused products marketed and sold by Scripts are genuine and authentic Gilead drugs, the

 Court should vacate the Asset Freeze Order.

        Finally, in response to this motion, Gilead will likely raise two independent instances of

 Script’s unintentional sale of adulterated drugs, each of which occurred well before Gilead’s

 application for the ex parte Asset Freeze Order. These events were addressed properly with the

 FDA and with Gilead, as well. Moreover, if Gilead thought that these two instances warranted

 urgent action in the form of a seizure or asset freeze, Gilead would not have waited more than

 a year to seek the ex parte relief that it obtained herein. Indeed, to the extent that Gilead

 wishes to rely on Scripts’ prior acts that took place long before the acts complained of in this

 litigation, Gilead’s unexcused delay would constitute a valid defense of laches in the Second

 Circuit, barring the preliminary relief sought by Gilead. See, Citibank N.A. v. Citytrust, 756 F.2d

 273 (2d Cir. 1985). In addition, if these two instances formed the basis for Gilead’s claim of

 counterfeiting, it could not possibly support freezing over $5 million, since the profit that Scripts

 earned from the sale of these two bottles are de minimis compared to the amount of money that

 has been frozen.

        C. Pedigrees Do Not Constitute “Use in Commerce” Pursuant to 15 U.S.C. § 1127

        Lastly, in this instance Gilead cannot satisfy the ‘use in commerce’ requirement of 15

 U.S.C. § 1114(1)(a) to establish a counterfeiting claim. To constitute a “trademark use” necessary


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 to support a counterfeiting claim, the mark must be “placed in any manner on the goods or their

 containers or the displays associated therewith or on the tags or labels affixed thereto….”

 See 15 U.S.C. § 1127. (Emphasis added) In other words, in the context of Gilead’s claims against

 Scripts, Gilead’s marks are not in “use” if they are not placed on the “goods,” “containers,”

 “displays,” or “tags or labels affixed thereto.” Here, the reference to Gilead marks on pedigrees

 simply do not meet the statutory definition for “use” under the Lanham Act.

        The nature of use that constitutes “use in commerce” under the Lanham Act is well-

 established. In a recent decision, one court has held that “documents associated with product

 shipments and sales, such as receipts, invoices, bills of lading, and web pages,” would only

 constitute use in commerce if “the goods themselves are of such a nature that a mark cannot

 physically be affixed to them.” Est Inc. v. Royal-Grow Prods., 526 F. Supp. 3d 943, 954 (D. Kan.

 2021). However, use of the mark on documents merely associated with a product cannot be used

 to satisfy the “use in commerce” requirement of § 1127. Id. (citing In re Chi. Rawhide Mfg. Co., 59

 C.C.P.A. 963, 455 F.2d 563, 564-65 (C.C.P.A. 1972) (use of mark on invoice which accompanies

 goods is not “use in commerce” under the Lanham Act); In re Bright of Am., Inc., 1979 TTAB

 LEXIS 100, *5 (Trademark Trial & App. Bd. 1979) (finding that materials used to conduct business

 such as invoices, billboards, way bills and business stationery are insufficient to establish “use”)).

 Other cases involving receipts, brochures and packing inserts have reached similar conclusions,

 finding that these kinds of uses do not constitute “use in commerce.” See e.g., Kische USA, LLC v.

 Simsek, 2017 U.S. Dist. LEXIS 196191, *25 (W.D. Wash. 2017); VersaTop Support Sys., LLC v.

 Ga. Expo Inc., 2017 U.S. Dist. LEXIS 57427, *4-5 (D. Or. 2017).

        Here, even though pedigrees may accompany sales, the use of a mark on a pedigree does

 not constitute “use” under § 1127 (or § 1116) and therefore cannot serve as the basis for Gilead’s



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 counterfeiting claim. Simply put, a pedigree does not include the use of counterfeit marks.

 Indeed, since the references to Gilead marks on a pedigree are not marks that are placed on

 “goods,” “containers,” “displays,” or “tags or labels affixed thereto,” such references cannot

 constitute use of a “counterfeit mark” as defined in §1116(d)(b)(i), which also requires “use.”

        Scripts’ contention that dealing in goods with false pedigrees does not constitute

 counterfeiting under the Lanham Act is also corroborated by the Mainspring case that Gilead has

 previously referenced. In particular, the indictment in the Mainspring case discusses the DSCSA

 and its requirements that distributors provide transaction documentation, i.e., pedigree. (Schurin

 Decl., ¶5, Ex. D). The indictment further describes the specific acts committed by the Mainspring

 Defendants in creating false paperwork and transaction documents to defraud their customers.

 (Schurin Decl., Ex. D). However, there is not a single charge of criminal counterfeiting under 18

 U.S.C. § 2320. (Ex. D). Had a charge of counterfeiting actually been appropriate, it would have

 been elementary for the government to assert it in any of the related indictments (Schurin Decl.,

 ¶¶6-8, Exs. E, F, G).

        Cases previously cited by Gilead in original briefing on this motion – e.g., State of Idaho

 Potato Comm’n, Monsanto, Johnson & Johnson (Gilead Opp. Br., pp. 17-20) – are also

 inapposite and their insignificance for purposes of this motion is not in serious dispute. In each

 of those cases, there was a counterfeit use of a mark in commerce since the counterfeit marks

 were applied to packaging, which are “containers” under § 1127.

        Finally, Gilead’s theory of counterfeiting via pedigree must also be rejected because the

 names of the manufacturer and that of the drugs (e.g., BIKTARVY®, GENVOYA®) which

 appear on the pedigrees are entirely truthful, accurately describing the contents of the bottles of




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 medication that are sold by Scripts. Although Gilead contends that the transaction history on

 pedigrees is inaccurate, the trademark source-identifying information is actually not under attack.

 III.   GILEAD HAS NOT DEMONSTRATED THAT SCRIPTS
        WILL DISSIPATE OR SECRETE ITS ASSETS

        To justify the continuation of the Asset Freeze Order, Gilead also bears a separate and

 significant burden of proving that Scripts intends to dissipate assets in the absence of a freeze in

 order to frustrate any potential judgment against it. Spin Master v. Aciper, 2020 U.S. Dist.

 LEXIS 206278 (S.D.N.Y. Nov. 4, 2020) (denying request to continue asset freeze and enter

 preliminary injunction since plaintiffs point to no conduct that would suggest intent to frustrate a

 potential future judgment for counterfeiting). Indeed, it is Gilead’s high burden to demonstrate

 that “a significant risk that the irreparable harm exists where, but for the grant of equitable relief,

 there is a substantial chance that upon final resolution of the action the parties cannot be returned

 to the positions they previously occupied.” Sterling Ornaments Pvt. Ltd. V. Hazel Jewelry Corp.,

 2015 U.S. Dist. LEXIS 77331, at *2 (S.D.N.Y. 2015) (denying request for temporary restraining

 order freezing defendants’ assets). Thus, even assuming that Gilead has made a prima facie case

 of counterfeiting against Scripts, which is very much disputed, even a prima facie case of

 counterfeiting does not give rise to a presumption that a defendant’s cash assets need to continue

 to be restrained to prevent irreparable harm. And while a prima facie case of counterfeiting or

 infringement may in some cases give rise to a presumption of irreparable harm, it does not give

 rise to a presumption that a defendant’s cash assets need to continue to be restrained to prevent

 irreparable harm. See e.g., Kebapci v. Tune Core Inc., 2016 U.S. Dist. LEXIS 159054, at *4

 (E.D.N.Y. 2016) (denying preliminary injunction to freeze assets where no evidence beyond

 conclusory allegations that would dissipate or transfer assets to avoid any future judgment). In




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 Sterling Ornaments, even the wrongful use of corporate funds was not deemed evidence of an

 intent to frustrate a future judgment. 2015 U.S. Dist. LEXIS 77331, at *3-4 (S.D.N.Y. 2015).

         Here, there is no evidence in the record that Scripts would dissipate its assets in order to

 frustrate any future judgment. In its recently filed Fifth Amended Complaint [Docket No. 945],

 Gilead again references a New York case accusing Scripts of conspiring with RxWholesale to

 hide assets, including Gilead inventory, to frustrate a judgment (¶ 318). However, that allegation

 has already been conclusively disproven since the creditor in that case with a security interest in

 RxWholesale’s inventory previously amended its complaint to remove all allegations against

 Scripts.

         In this case, if Scripts would have had the opportunity to contest Gilead’s application for

 the asset freeze, it would have been able to establish that all of the available evidence suggests that

 Scripts is not likely to dissipate or secrete its assets in an effort to frustrate a potential future

 judgment. Now that this evidence is before the Court, it is appropriate to consider in deciding

 whether to maintain or reduce the asset freeze order.

         It is also significant that even after reviewing all documents, products and other

 information obtained from all the ex parte seizures in this action, Gilead has still not established

 that Scripts has completed any actions with the specific intent to frustrate any judgment. “While

 plaintiff’s arguments may have been sufficient to justify temporary relief on an ex parte basis, they

 are no longer sufficient now that defendants have had an opportunity to be heard.” BMaddox

 Enters, LLC v, Oskouie, 2017 U.S. Dist. LEXIS 146766, *17 (S.D.N.Y. 2017) (dissolving asset

 restraining order where evidence of defendants’ alleged fraudulent and infringing conduct before

 commencement of action not show an intent to frustrate a future judgment). “Absent any evidence




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 that defendants either have secreted assets or are about to do so in an effort to frustrate a future

 judgment, this argument fails.” Id., at *13.

         Scripts further notes that in Gilead’s initial application for an ex parte Asset Freeze Order

 against Scripts, Gilead submitted virtually no evidence that Scripts is likely to dissipate or

 secrete its assets. Gilead offered no declarations or other evidence specifically related to Scripts’

 assets and the likelihood that Scripts would dissipate its assets to avoid a possible judgment.

 Indeed, Gilead’s Memorandum of Law, dated October 14, 2021, in support of the asset freeze

 request barely mentions Scripts. Instead, Gilead argues that “Scripts fits the same mold as

 previously named Distributor Defendants Safe Chain and ProPharma” and that “Scripts should

 not be given the opportunity to hide or spend its counterfeiting profits.” (Gilead Memorandum of

 Law, pp. 57-58) Mere conclusory allegations based upon speculation such as this are wholly

 insufficient to support the contention that Scripts is likely to dissipate its assets or take action to

 evade judgment. See e.g., BMaddox Enters, LLC v, Oskouie, 2017 U.S. Dist. LEXIS 146766,

 *15 (S.D.N.Y. 2017) (“[A]lthough plaintiff argued that it’s ‘safe to assume,’ or that it is ‘almost

 certain,’ that defendants would remove assets from the United States, such arguments are little

 more than speculation and demonstrate, at most, that there is a possibility that defendants would

 secrete assets to frustrate a judgment.).

         In summary, even after having access to all of Scripts documents and its

 communications, Gilead has presented no evidence from which this Court may infer that Scripts

 will divert its sales proceeds prior to the conclusion of this litigation or otherwise use these funds

 other than in the ordinary course of business. Kebapci v. Tune Core, Inc., 2016 U.S. Dist. LEXIS

 159054 (E.D.N.Y. Nov. 11, 2016). Indeed, even a wrongful use of funds does not infer evidence

 of an intent to frustrate a future judgment. Sterling Ornaments Pvt., Ltd. V. Hazel Jewelry Corp.,



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 2015 U.S. Dist. LEXIS 77331, at *3 (S.D.N.Y. June 9, 2015); Haggiag v. Brown, 728 F. Supp

 286, 291 (S.D.N.Y. 1990). Further, a court may not rest its finding of the likelihood of future

 harm solely on past conduct, including past conduct in the infringement context before the

 commencement of the action. BMaddox Enters, LLC v, Oskouie, 2017 U.S. Dist. LEXIS 146766,

 *15 (S.D.N.Y. 2017). Accordingly, and on this basis alone, the Asset Freeze Order against

 Scripts should now be vacated. See, e.g., Haggiag v. Brown (denying asset freeze where

 plaintiffs failed to present “any significant evidence of any massive dissipation of assets of the

 sort which would be required in order for the drastic remedy sought by plaintiffs to be

 appropriate.”).



 IV.    THE PUBLIC INTEREST IS NOT SERVED BY MAINTAINING
        AN ASSET FREEZE OF SCRIPTS’ FUNDS
        Scripts respectfully submits that the public interest is not benefited by maintaining an

 Asset Freeze Order against Scripts issued ex parte where Gilead’s legal claim of “counterfeiting”

 stands on very shaky ground. In addition, justice is not served when a plaintiff is able to prevail

 by simply freezing a defendant’s financial assets such that it is forced out of business.




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                                          CONCLUSION

        For all of the reasons set forth above, the Asset Freeze Order entered against Scripts

 should be vacated entirely. Alternatively, Scripts respectfully requests that the Asset Freeze

 Order be modified in accordance with the facts discussed herein.




  Dated: April 17, 2023                             Respectfully submitted,
         Garden City, New York
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